        Case
         Case2:18-cv-02071-CFK
              2:18-cv-02071-CFK Document 50 Filed
                                Document 39-1 Filed04/23/19
                                                    04/07/19 Page
                                                              Page11of
                                                                     of 22



                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JAMES EVERETT SHELTON                                  Case No. 2:18-cv-02071-CFK

                                                       Honorable Chad F. Kenney

          Plaintiff,
      v.
FAST ADVANCE FUNDING LLC


               Defendant.

REOLAW,LLC
By: Bryan Anthony Reo
P.O. Box 5100
Mentor, OH 44061
(Business): (216) 505-0811
(Mobile): (440) 313-5893
(E): Reo@ReoLaw.org
Attorney for James Everett Shelton


  PROPOSED ORDER GRANTING MOTION IN LIMINE TO EXCLUDE EVIDENCE
                 OF PLAINTIFF'S OTHER LITIGATION



       THIS MATTER came to be considered by the Court pursuant to the Plaintiffs Motion in
Limine to Exclude Evidence of Plaintiffs Other Litigation filed by Plaintiff in the above-captioned
cause. The Court having considered the Motion and being fully advised of the premises, it is,
therefore,


       ORDERED and ADJUDGED:
       1.        That the Plaintiffs Motion in Limine to Exclude Evidence of Plaintiffs Other
                 Litigation is hereby granted.
       2.        The Defendant shall not refer to any of Plaintiffs other litigation in the presence
                 of the jury.
       3.        The Defendant shall not attempt to offer into evidence any document from any
                 of Plaintiffs other litigation.

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     Case
      Case2:18-cv-02071-CFK  Document 39-1
           2:18-cv-02071-CFK Document 50 Filed
                                           Filed04/23/19
                                                 04/07/19 Page
                                                           Page 22 of
                                                                   of 22




Ml   DONE AND ORDERED in Chambers at Philadelphia, Pennsylvania this   a?J day of
     \L- ' 019.
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                                    ~~STRICT                 COURT EASTERN
DISTRICT OF PE
     Copies to:
     Bryan Anthony Reo
     Cynthia Clark




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